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            EXHIBIT A
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         UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                  If You Bought A Cathode Ray Tube Product,
                                                   A Class Action Settlement May Affect You.
              Cathode Ray Tube (CRT) Products include Cathode Ray Tubes and finished products that
                     contain a Cathode Ray Tube such as Televisions and Computer Monitors
                       A Federal Court authorized this Notice. This is not a solicitation from a lawyer.
   A class action lawsuit that includes direct purchasers of CRT Products is currently pending.
   Plaintiffs claim that Defendants (listed below) and co-conspirators engaged in an unlawful conspiracy to fix, raise, maintain or
    stabilize the prices of Cathode Ray Tubes. Plaintiffs further claim that direct purchasers of televisions and monitors that contain a
    cathode ray tube from the Defendants may recover for the effect that the cathode ray tube conspiracy had on the prices of
    televisions and monitors. Plaintiffs allege that, as a result of the unlawful conspiracy involving cathode ray tubes, they and other
    direct purchasers paid more for CRT Products than they would have paid absent the conspiracy. Defendants deny Plaintiffs’
    claims.
   A Settlement has been reached with (Panasonic Corporation (f/k/a Matsushita Electric Industrial Co., Ltd.), Panasonic
    Corporation of North America, and MT Picture Display Co., Ltd., (collectively, “Panasonic”). The Settlement also releases
    Beijing Matsushita Color CRT Co., Ltd. (“BMCC”). The companies are together referred to as the “Settling Defendants.”
   Your legal rights will be affected whether you act or don’t act. This Notice includes information on the Settlement and the
    continuing lawsuit. Please read the entire Notice carefully.
                        These Rights and Options – and deadlines to exercise them – are explained in this notice
                           You can object or comment on the Settlement                                                              see Question 10
                           You may exclude yourself from the Settlement                                                             see Question 10
                           You may go to a hearing and comment on the Settlement                                                    see Question 14
   The Court in charge of this case still has to decide whether to approve the Settlement. The case against the Non-Settling
    Defendants (identified below) continues.
                                                               WHAT THIS NOTICE CONTAINS
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              2.    Who are the Defendant companies?
              3.    What is this lawsuit about?
              4.    Why is there a Settlement but the litigation is continuing?
              5.    What is a Cathode Ray Tube Product?
              6.    What is a class action?
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              12. When and where will the Court decide whether to approve the Settlement?
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            For More Information: Call 1-877-224-3063 or Visit www.CRTDirectPurchaserAntitrustSettlement.com
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                                                         BASIC INFORMATION
1.       Why did I get this notice?
You or your company may have directly purchased Cathode Ray Tubes (CRTs) or certain products containing those tubes between
March 1, 1995 and November 25, 2007. A direct purchaser is a person or business who bought a CRT, or a television or computer
monitor containing a CRT directly from one or more of the Defendants, co-conspirators, affiliates, or subsidiaries themselves, as
opposed to an intermediary (such as a retail store).
You have the right to know about the litigation and about your legal rights and options before the Court decides whether to approve
the Settlement.
The notice explains the litigation, the settlement, and your legal rights.
The Court in charge of the case is the United States District Court for the Northern District of California, and the case is called In re
Cathode Ray Tube (CRT) Antitrust Litigation, MDL No. 1917. The people who sued are called Plaintiffs and the companies they sued
are called Defendants.
2.       Who are the Defendant companies?
The Defendant companies include: LG Electronics, Inc., LG Electronics U.S.A., Inc., LG Electronics Taiwan Taipei Co., Ltd,
Koninklijke Philips Electronics N.V., Philips Electronics North America Corporation, Philips Electronics Industries (Taiwan), Ltd.,
Philips da Amazonia Industria Electronica Ltda., LP Displays International, Ltd. f/k/a LG.Philips Displays, Samsung Electronics Co.,
Ltd., Samsung Electronics America, Inc., Samsung SDI Co. Ltd., Samsung SDI America, Inc., Samsung SDI Mexico S.A. de C.V.,
Samsung SDI Brasil Ltda., Shenzhen Samsung SDI Co. Ltd., Tianjin Samsung SDI Co. Ltd., Samsung SDI Malaysia Sdn. Bhd.,
Toshiba Corporation, Toshiba America, Inc., Toshiba America Consumer Products, LLC., Toshiba America Information Systems,
Inc., Toshiba America Electronics Components, Inc., Panasonic Corporation f/k/a Matsushita Electric Industrial, Ltd., Panasonic
Corporation of North America, MT Picture Display Co., Ltd., Beijing-Matsushita Color CRT Company, Ltd. (BMCC), Hitachi, Ltd.,
Hitachi Displays, Ltd., Hitachi Electronic Devices (USA), Inc., Hitachi America, Ltd., Hitachi Asia, Ltd., Tatung Company of
America, Inc., Chunghwa Picture Tubes Ltd., Chunghwa Picture Tubes (Malaysia) Sdn. Bhd., IRICO Group Corporation, IRICO
Display Devices Co., Ltd., IRICO Group Electronics Co., Ltd., Thai CRT Company, Ltd., Daewoo Electronics Corporation f/k/a
Daewoo Electronics Company, Ltd., Daewoo International Corporation, Irico Group Corporation, Irico Group Electronics Co., Ltd.,
and Irico Display Devices Co., Ltd.
3.       What is this lawsuit about?
The lawsuit alleges that Defendants and co-conspirators conspired to raise and fix the prices of CRTs and the CRTs contained in
certain finished products for over ten years, resulting in overcharges to direct purchasers of those CRTs and certain finished products
containing CRTs. The complaint describes how the Defendants and co-conspirators allegedly violated the U.S. antitrust laws by
establishing a global cartel that set artificially high prices for, and restricted the supply of, CRTs and the televisions and monitors that
contained them. Defendants deny Plaintiffs’ allegations. The Court has not decided who is right.
4.       Why is there a Settlement but the litigation is continuing?
Only some of the Defendants have agreed to settle the lawsuit. This notice concerns a settlement with Panasonic (which also releases
BMCC). Plaintiffs have also reached two previous settlements with 1) Chunghwa Picture Tubes Ltd., and Chunghwa Picture Tubes
(Malaysia) Sdn. Bhd., and with 2) Koninklijke Philips Electronics N.V., Philips Electronics North America Corporation, Philips
Electronics Industries (Taiwan), Ltd., and Philips da Amazonia Industria Electronica Ltda. which are awaiting final approval from the
Court. The case is continuing against the remaining Non-Settling Defendants. Additional money may become available in the future
as a result of a trial or future settlements, but there is no guarantee that this will happen.
5.       What is a Cathode Ray Tube Product?
For the purposes of the Settlement, Cathode Ray Tube Products means Cathode Ray Tubes of any type (e.g. color display tubes, color
picture tubes and monochrome display tubes) and finished products which contain Cathode Ray Tubes, such as Televisions and
Computer Monitors.
6.       What is a class action?
In a class action, one or more people, called class representatives, sue on behalf of people who have similar claims. All these people
are members of the class, except for those who exclude themselves from the class.
If the Plaintiffs obtain money or benefits as a result of a trial or future settlement, you will be notified about those settlements, if any, at
that time. Important information about the case will be posted on the website, www.CRTDirectPurchaserAntitrustSettlement.com as it
becomes available. Please check the website to be kept informed about any future developments.




            For More Information: Call 1-877-224-3063 or Visit www.CRTDirectPurchaserAntitrustSettlement.com
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                                                   THE SETTLEMENT CLASS
7.        How do I know if I’m part of the Settlement Class?
The Settlement Class includes:
All persons and entities who, between March 1, 1995 and November 25, 2007, directly purchased a CRT Product in the United States
from any Defendant or subsidiary or affiliate thereof, or any co-conspirator (“Settlement Class”).
8.        What does the Settlement provide?
The Settlement with Panasonic provides for a payment in the amount of $17,500,000 in cash to the Settlement Class. Panasonic has
also agreed to cooperate with the Plaintiffs in providing certain information about the allegations in the complaint. In addition,
Panasonic and BMCC’s sales remain in the case for the purpose of computing damages against the remaining non-settling Defendants.
More details are in the Settlement Agreement, available at www.CRTDirectPurchaserAntitrustSettlement.com.
9.        When can I get a payment?
No money will be distributed to any Class Member yet. The lawyers will pursue the lawsuit against the Non-Settling Defendants to see if
any future settlements or judgments can be obtained in the case and then be distributed together, to reduce expenses.
Any future distribution of the Settlement Funds will be done on a pro rata basis. You will be notified in the future when and where to
send a claim form. DO NOT SEND ANY CLAIMS NOW.
In the future, each class member’s pro rata share of the Settlement Fund will be determined by computing each valid claimant’s total
CRT Product purchases divided by the total valid CRT Product purchases claimed. This percentage is multiplied to the Net
Settlement Fund (total settlements minus all costs, attorneys’ fees, and expenses) to determine each claimant’s pro rata share of the
Settlement Fund. To determine your CRT Product purchases, CRT tubes (CPT’s and CDT’s) are calculated at full value while CRT
televisions are valued at 50% and CRT computer monitors are valued at 75%.
In summary, all valid claimants will share in the settlement funds on a pro rata basis determined by the CRT value of the product you
purchased - tubes 100%, monitors 75% and televisions 50%.
10.       What are my rights with regard to the Settlement Class?
Remain in the Settlement Class: If you wish to remain a member of the Settlement Class you do not need to take any action at this time.
Get out of the Settlement Class: If you wish to keep any of your rights to sue the Settling Defendants about the claims in this case
you must exclude yourself from the Settlement Class. You will not get any money from the settlement if you exclude yourself from
the Settlement Class.
To exclude yourself from the Settlement Class, you must send a letter that includes the following:
         Your name, address and telephone number;
         A statement saying that you want to be excluded from In re Cathode Ray Tube (CRT) Antitrust Litigation, MDL No. 1917,
          Panasonic Settlement; and
         Your signature.
You must mail your exclusion request, postmarked no later than October 25, 2012, to:
                                                     CRT Claims Administrator
                                                       c/o Gilardi & Co. LLC
                                                           P.O. Box 8090
                                                     San Rafael, CA 94912-8090
                                                         Tel: 877-224-3063
Remain in the Settlement Class and Object: If you have comments about, or disagree with, any aspect of the Settlement, you may
express your views to the Court by writing to the address below. The written response needs to include your name, address, telephone
number, the case name and number (In re Cathode Ray Tube (CRT) Antitrust Litigation, MDL No. 1917), a brief explanation of your
reasons for objection, and your signature. The response must be postmarked no later than October 25, 2012 and mailed to:
 COURT                                        INTERIM LEAD COUNSEL                         COUNSEL FOR PANASONIC
 Honorable Charles A. Legge (Ret.)            Guido Saveri                                 Jeffrey L. Kessler
 JAMS                                         R. Alexander Saveri                          jkessler@winston.com
 Two Embarcadero, Suite 1500                  SAVERI & SAVERI, INC.                        WINSTON & STRAWN LLP
 San Francisco, CA 94111                      706 Sansome Street                           200 Park Avenue
                                              San Francisco, CA 94111                      New York, NY 10166
                                                                                           David L. Yohai
                                                                                           david.yohai@weil.com
                                                                                           WEIL, GOTSHAL & MANGES LLP
                                                                                           767 Fifth Avenue
                                                                                           New York, New York 10153

            For More Information: Call 1-877-224-3063 or Visit www.CRTDirectPurchaserAntitrustSettlement.com
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11.      What am I giving up to stay in the Settlement Class?
Unless you exclude yourself from the Settlement Class, you can’t sue the Settling Defendants, or be part of any other lawsuit against
Settling Defendants about the legal issues in this case. It also means that all of the decisions by the Court will bind you. The “Release
of Claims” includes any causes of actions asserted or that could have been asserted in the lawsuit, as described more fully in the
Settlement Agreement. The Settlement Agreement is available at www.CRTDirectPurchaserAntitrustSettlement.com.
                                           THE SETTLEMENT APPROVAL HEARING
12.      When and where will the Court decide whether to approve the Settlement?
The Court will hold a Fairness Hearing at 10:00 a.m. on December 17, 2012, at JAMS, Two Embarcadero, Suite 1500, San
Francisco, CA 94111. The hearing may be moved to a different date or time without additional notice, so it is a good idea to check the
class website for information. At this hearing, the Court will consider whether the Settlement is fair, reasonable and adequate. If there
are objections or comments, the Court will consider them at that time. After the hearing, the Court will decide whether to approve the
Settlement. We do not know how long these decisions will take.
13.      Do I have to come to the hearing?
No. Interim Lead Counsel will answer any questions the Court may have, but you are welcome to come at your own expense. If you
send an objection or comment, you don’t have to come to Court to talk about it. As long as you mailed your written objection on time,
the Court will consider it. You may also pay another lawyer to attend, but it’s not required.
14.      May I speak at the hearing?
If you want your own lawyer instead of Interim Lead Counsel to speak at the Final Approval Hearing, you must give the Court a paper
that is called a “Notice of Appearance.” The Notice of Appearance should include the name and number of the lawsuit (In re Cathode
Ray Tube (CRT) Antitrust Litigation, MDL No. 1917), and state that you wish to enter an appearance at the Fairness Hearing. It also
must include your name, address, telephone number, and signature. Your “Notice of Appearance” must be postmarked no later than
October 25, 2012. You cannot speak at the Hearing if you previously asked to be excluded from the Settlement.
The Notice of Appearance must be sent to the addresses listed in Question 10.
                                             THE LAWYERS REPRESENTING YOU
15.      Do I have a lawyer in the case?
Yes. The Court has appointed the law firm of Saveri & Saveri, Inc. to represent you as “Interim Lead Counsel.” You do not have to
pay Interim Lead Counsel. If you want to be represented by your own lawyer, and have that lawyer appear in court for you in t his
case, you may hire one at your own expense.
16.      How will the lawyers be paid?
Class Counsel are not asking for attorneys’ fees at this time. At a future time, Interim Lead Counsel will ask the Court for attorneys’
fees not to exceed one-third (33.3%) of this or any future Settlement Fund plus reimbursement of their costs and expenses, in
accordance with the provisions of the Settlement Agreement. Interim Lead Counsel may also request that an amount be paid to each
of the Class Representatives who helped the lawyers on behalf of the whole Class.
                                                GETTING MORE INFORMATION
17.      How do I get more information?
This Notice summarizes the lawsuit and the Settlement. You can get more information about the lawsuit and Settlement at
www.CRTDirectPurchaserAntitrustSettlement.com, by calling 1-877-224-3063, or writing to CRT Claims Administrator, c/o Gilardi
& Co. LLC, P.O. Box 808003, Petaluma CA 94975-8003. Please do not contact JAMS or the Court about this case.
Dated: August 27, 2012                                           BY ORDER OF THE COURT




            For More Information: Call 1-877-224-3063 or Visit www.CRTDirectPurchaserAntitrustSettlement.com
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            EXHIBIT B
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            EXHIBIT C
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Cathode Ray Tubes Antitrust Litigation
Requests For Exclusion Received (Panasonic Settlement)

 1) Best Buy
        Best Buy Co., Inc.
        Best Buy Purchasing, LLC
        Best Buy Enterprise Services, Inc.
        Best Buy Stores, L.P.
        BestBuy.com, LLC
        Magnolia Hi-Fi, Inc.
              7601 Penn Avenue South
              Richfield, MN 55423

 2) Tech Data Corporation
        Azlan European Finance Limited
        Azlan GmbH
        Azlan Group Limited
        Azlan Limited
        Azlan Logistics Limited
        Azlan Overseas Holdings Ltd.
        Azlan Scandinavia AB
        Batterex B.V.
        Computer 2000 Distribution Ltd.
        Computer 2000 Publishing AB
        Datatechnology Datech Ltd.
        Datech 2000 Ltd.
        Expander Express AB
        Expander Informatic AB
        Expander Technical AB
        Frontline Distribution Ltd.
        Frontline Distribution (Ireland) Ltd.
        Hakro-Ooseterberg-Nijkerk B.V.
        Horizon Technical Services (UK) Limited
        Horizon Technical Services AB
        Hotlamps Limited
        Managed Training Services Limited
        Maneboard Ltd
        Maverick Presentation Products Limited
        ProDesk N.V
        Quadrangle Technical Services Limited
        Screen Expert Limited UK
        TD Brasil, Ltda
        TD Facilities, Ltd. (Partnership)
        TD Fulfillment Services, LLC
        TD Tech Data AB
        TD Tech Data Portugal Lda
        TD United Kingdom Acquisition Limited
        Tech Data (Netherlands) B.V.
        Tech Data (Schweiz) GmbH
        Tech Data bvba/sprl
        Tech Data Canada Corporation
        Tech Data Chile S.A.
        Tech Data Colombia S.A.S.
        Tech Data Corporation ("TDC")
        Tech Data Denmark ApS
        Tech Data Deutschland GmbH
        Tech Data Distribution s.r.o.
        Tech Data Education, Inc.
        Tech Data Espana S.L.U.
        Tech Data Europe GmbH
        Tech Data Europe Services and Operations, S.L.
        Tech Data European Management GmbH
        Tech Data Finance Partner, Inc.
        Tech Data Finance SPV, Inc.
        Tech Data Financing Corporation
        Tech Data Finland OY
        Tech Data Florida Services, Inc.
        Tech Data France Holding Sarl
        Tech Data France SAS
        Tech Data GmbH & Co OHG
        Tech Data Information Technology GmbH
        Tech Data Global Finance LP
        Tech Data International Sárl
        Tech Data Italia s.r.l.
        Tech Data Latin America, Inc.
        Tech Data Ltd
        Tech DataLuxembourg Sárl
        Tech Data Management GmbH
        Tech Data Marne SNC




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Cathode Ray Tubes Antitrust Litigation
Requests For Exclusion Received (Panasonic Settlement)

         Tech Data Mexico S. de R.L. de C.V.
         Tech Data Midrange GmbH
         Tech Data Mobile Acquisition Limited
         Tech Data Mobile Austria GmbH
         Tech Data Mobile Cooperatief W.A.
         Tech Data Mobile Limited
         Tech Data Nederland B.V.
         Tech Data Norge AS
         Tech Data Operations Center, SA
         Tech Data Österreich GmbH
         Tech Data Peru S.A.C.
         Tech Data Polska Sp.z.o.o.
         Tech Data Product Management, Inc.
         Tech Data Resources, LLC
         Tech Data Service GmbH
         Tech Data Servicios, S. de R.L. de C.V.
         Tech Data Strategy GmbH
         Tech Data Tennessee, Inc.
         Tech Data Uruguay S.A.
         Triade Holding B.V.
         Triade Rosenmeier Electronics AS
              5350 Tech Data Drive
              Clearwater, FL 33760

 3) Mivar di Carlo Vichi e C. S.A.S.
              Via Bergognone, 65
              20144 Milan
              Italy

 4) Sharp Corporation
        Sharp Electronics Corporation
        Sharp Manufacturing Company of America
        Sharp Electronics Manufacturing Company of America
              22-22 Nagaike-Cho
              Abeno-Ku
              Osaka, JAPAN 545-8522
                 and
              Sharp Plaza
              Mahwah, NJ 07495

 5) Apple, Inc
        Apple Inc.
        Apple Operations
        Apple Operations Europe (f/k/a Apple Computer Limited)
        Apple Operations Europe (f/k/a Apple Computer Limited) (Singapore branch)
        Apple Computer International
        Apple Computer Inc.
              1 Infinite Loop
              Cupertino, CA 95014

 6) NECO Alliance LLC
       Aitoro Appliance Co., Inc.
       Appliance Dealers Cooperative Inc.
       Dynamic Marketing, Inc.
       Intercounty Appliance Corp.
       Nationwide of Connecticut, Inc.
       New England Appliance & Electronics Group, Inc.
              620 Route 25A, Suite D
              Mount Sinai, NY 11766

 7) ABC Appliance, Inc.
       d/b/a ABC Warehouse
              1 West Silverdone Industrial Park
              Pontiac, MI 48342

 8) Unisys Corporation
            801 Lakeview Drive Ste 100
            Blue Bell, PA 19422

 9) Jerry Laatsch
             10550 Appomattox
             Holly, MI 48442




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Cathode Ray Tubes Antitrust Litigation
Requests For Exclusion Received (Panasonic Settlement)

10) Circuit City Stores, Inc. Liquidating Trust
              Alfred H. Siegel, Trustee
              P.O. Box 5695
              Glen Allen, VA 23058

11) ViewSonic Corporation
        ViewSonic Corporation
              381 Brea Canyon Road
              Walnut, CA 91789

         ViewSonic International Corporation
              9F, No. 192, Lien Chen Road
              Chung Ho, 235, Tapiei, Taiwan

         ViewSonic Display Limited
              Level 28, Three Pacific Place
              1 Queen's Road East, Hong Kong

         ViewSonic Hong Kong Limited
              c/o Kai Tak Commercial Building
              161 Connaught Road Central
              Rooms 1905-8, 19th Floor
              Hong Kong

12) Sears
        Sears, Roebuck and Co.
        Sears Holdings Corporation
        Sears Holdings Management Corporation
        Kmart Corporation
        Kmart Management Corporation
        Kmart Holdings Corporation
              3333 Beverly Road
              Hoffman Estates, IL 60179

13) Schultze Asset Management, LLC
        Schultze Agency Services, LLC
        Tweeter Newco, LLC
        Tweeter Opco, LLC
        Tweeter Intellectual Property, LLC
        Tweeter Tivoli, LLC
        Tweeter Home Entertainment Group, Inc.
        Sound Advice, Inc. d/b/a Sound Advice and Showcase Home Entertainment
        Hifi Buys Incorporated
        Tweeter Etc.
        Douglas TV & Appliance, Inc.
        Douglas Audio Video Caters, Inc.
        United Audio Centers, Inc.
        Sumarc Electronics Incorporated d/b/a NOW! Audio Video
        Bryn Mawr Radio and Television, Inc.
        The Video Scene, Inc. d/b/a Big Screen City
        Hillcrest High Fidelity, Inc. d/b/a Hillcrest Audio
        DOW Stereo/Video, Inc.
        Home Entertainment of Texas, Inc.
        SMK Marketing, Inc. d/b/a Audio Video Systems
        Sound Advice of Arizona, Inc.
        New England Audio Co., Inc.
        NEA Delaware, Inc.
        THEG USA L.P.
        Showcase Home Entertainment
              3000 Westchester Avenue, Ste 204
              Purchase, NY 10577

14) CompuCom Systems, Inc.
          7171 Forest Lane
          Dallas, TX 75230




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Cathode Ray Tubes Antitrust Litigation
Requests For Exclusion Received (Panasonic Settlement)

15) P.C. Richard & Son Long Island Corporation
         A.J. Richard & Sons, Inc.
         P.C Ricard & Son, LLC
         P.C. Richard Service Company
         Alfred Reliable Appliances, Inc.
         Reliable Richard's Service Corp.
         AGP Services Corp.
         Two Guys Ventures Corp.
         A.J. Staten Island, LLC
         P.C. Deer Park, LLC
         P.C. 185 Price Parkway, LLC
         P.C. 1574, Inc.
         P.C. 1574 Milford, LLC
         P.C. Lawrenceville, LLC
         P.C. Brick 70, LLC
         P.C. Richard & Son Connecticut, LLC
             150 Price Parkway
             Farmingdale, NY 11735

16) MARTA Cooperative of America, Inc.
           515 East Carefree Hwy #1140
           Phoenix, AZ 85085

17) Office Depot, Inc.
         Office Depot Asia Holding Limited
         Office Depot BA SAS (f.k.a. Guilbert France S.AS.)
         Office Depot BVBA (f.k.a. Guilbert Belgium BVBA)
         Office Depot Brasil Limitada (inactive)
         Office Depot Brasil Participacoes Limitad
         Office Depot Centro America, SA de CV
         Office Depot Chile Limitada (inactive)
         Office Depot Cyprus Limited (f.k.a Claigan Ltd.)
         Office Depot Delaware Overseas Finance No. 1, LLC (f.k.a Office Depot Delaware Overseas Finance No. 1, Inc.)
         Office Depot de Mexico SA de CV
         Office Depot Deutschland GmbH (f.k.a Guilbert Deutschland GmbH)
         Office Depot France SNC (f.k.a Office Depot France SAS)
         Office Depot Hungary Kft (f.k.a Elso Iroda Superstore Kft.)
         Office Depot, Inc.
         Office Depot International BVBA
         OD International (Luxembourg) Finance
         Office Depot, B.V. (formerly Guilbert Netherland BV)
         Office Depot Cooperatief W.A.
         Office Depot Europe B.V.
         Office Depot Europe Holdings Ltd.
         Office Depot GmbH + Switzerland
         Office Depot Holding GmbH + Switzerland
         Office Depot Holdings Ltd.
         Office Depot Holdings 2 Ltd.
         Office Depot Holdings 3 Ltd.
         Office Depot International B.V.
         Office Depot International (UK) Ltd.
         Office Depot Ireland Limited (f.k.a Guilbert Ireland Ltd)
         Office Depot (Israel) Ltd.
         Office Depot Italia S.r.l.
         Office Depot Japan Limited
         Office Depot Korea Limited (f.k.a Best Office Co., Ltd.)
         Office Depot Latin American Holdings B.V.
         Office Depot MDF SNC
         Office Depot NA B.V.
         Office Depot N.A. Shares Services LLC
         Office Depot Netherland B.V. (f.k.a Office Depot International, B.V.) (f.k.a Viking Direct (Holdings) B.V.)
         Office Depot Network Technology Ltd.
         Office Depot (Operations) Holding B.V. (f.k.a Guilbert Trademarks B.V.)
         Office Depot Overseas Limited
         Office Depot Overseas Holding Limited
         Office Depot Overseas 2 Limited
         Office Depot Poland Sp Z.O.o. (f.k.a Fontinalis)
         Office Depot Private Limited
         Office Depot Procurement and Sourcing (Schenzhen) Company Ltd. Or translated: Office Depot Merchandising (Shenzhen) Company Ltd.
         Office Depot Puerto Rico, LLC
         Office Depot SAS (f.k.a Guilbert SAS)
         Office Depot Service Center SRL
         Office Depot Service - und BeteiligungsGmbH&Co.KG
         Office Depot s.r.o. (f.k.a Papririus s.r.o.)
         Office Depot S.L. (f.k.a Guilbert Espana S.L.)
         Office Depot Tokumei Kumiai




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Cathode Ray Tubes Antitrust Litigation
Requests For Exclusion Received (Panasonic Settlement)

        Office Depot UK Limited (f.k.a Guilbert UK Ltd)
        Office Depot - Viking Holdings B.V.
        2300 South Congress LLC
        4Sure.com, Inc.
        AGE Kontor & Data AB
        AsiaEC.com Limited
        BizDepot, LLC (inactive)
        Centro de Apoyo Caribe SA de CV
        Centro de Apoyo SA de CV
        Computers4Sure.com, Inc.
        Curry's Limited
        Deo Deo Tokumei Kumiai
        eOffice Planet India Private Limited
        Erial BQ S.A.
        Europa S.A.S.
        Gosta Hansson & Co AB
        Guibert Beteiligungsholding GmbH
        Guilbert International B.V.
        Guilbert Luxembourg S.AR.L.
        Guilbert UK Holdings Ltd
        Guilbert UK Pension Trustees Ltd
        HC Land Company LLC
        Helge Dahnberg AB + Sweden
        Heteyo Holdings B V.
        Hutter GmbH
        Japan Office Supplies, LLC
        Kontorsfackhandlarna Stockholm AB + Sweden
        Kontorsgruppen i Sverige AB + Sweden
        NEWGOH Immobilienverwaltung GmbH
        Neighborhood Retail Development Fund, LLC (inactive)
        Niceday Distribution Centre Ltd
        North American Card and Coupon Services, LLC
        Notus Aviation, Inc.
        OD Acquisition Canada ULC
        OD Aviation, Inc.
        OD Colombia Ltda
        OD El Salvador, Ltda. De C.V.
        OD France, LLC
        ODV France, LLC
        ODG Caribe SA de CV (f.k.a Urguguay Cia. Papelera, SA de CV)
        OD Guatemala y Compania. Limitada
        OD Honduras S de RL
        OD International, Inc.
        OD International Holdings CV
        OD International (Luxembourg) Holdings S.A.R.L.
        OD International (Luxembourg) Participation S.A.R.L.
        OD Management SNC
        OD Medical Solutions LLC
        OD of Texas, LLC (f.k.a OD of Texas Inc.)
        ODPanamaSA
        OD S.N.C.
        ODST, LLC (inactive)
        OD Tressorerie (f.k.a om S.N.C)
        Office 1 Ltd
        Office 1 (1995) Ltd
        Office Club, Inc.
        OfficeSupplies.com, Inc.
        Office Town, Inc. (inactive)
        Papirius Kft.
        Pappersnabben i Malmo AB + Sweden
        Patitucci Ltd.
        Reliable Uk Ltd
        Ritma AB + Sweden
        S.A.R.L.
        Servicios Administrativos Office Depot SAdeCV
        Servicios y Material De Escritorio S.L.
        Solutions4Sure.com, Inc.
        Stitching Office Depot Charity for Children
        Swinton Avenue Trading Limited, Inc.
        Viking Direct B.V.
        Viking Direct (Holdings) Limited
        Viking Direct (Ireland) Limited (f.k.a Viking Direct (Ireland) Limited; then Office Depot International (Ireland) Limited -new change effective as of 912004
        Viking Direct S.A.R.L.
        Viking Direkt GesmbH
        Viking Finance (Ireland) Limited
        Viking Office Products, Inc.




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Cathode Ray Tubes Antitrust Litigation
Requests For Exclusion Received (Panasonic Settlement)

         Viking Office Products KK
         Viking Office Products S.r.l. (f.k.a Viking Direct SrI)
         VOP (Ireland) Limited
         VPC System S.r.l. (inactive)
         6600 N. Military Trail
         Boca Raton, FL 33496

18) Electrograph Systems, Inc.
         Electrograph Technologies Corp.
         International Computer Graphics, Inc.
         ActiveLight, Inc.
         CineLight Corporation
         Manchester Technologies, Inc.
         Manchester Equipment Co. Inc.
         Champion Vision, Inc.
         Coastal Office Products, Inc.
         53 Lakeside Drive
         Rockville Ctr, NY 11570

19) Interbond Corporation of America
         d/b/a BrandsMart USA
         3200 SW 42nd St.
         Hollywood, FL 33312

20) Target Corporation
        1000 Nicollet Mall
        Minneapolis, MN 55403




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